

Matter of Jaraira Del Carmen C. v Junior M. (2018 NY Slip Op 07941)





Matter of Jaraira Del Carmen C. v Junior M.


2018 NY Slip Op 07941


Decided on November 20, 2018


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 20, 2018

Renwick, J.P., Richter, Tom, Kern, Oing, JJ.


7653

[*1]In re Jaraira Del Carmen C., Petitioner-Appellant,
vJunior M., Respondent-Respondent.


Richard L. Herzfeld, P.C., New York (Richard L. Herzfeld of counsel), for appellant.
Kenneth M. Tuccillo, Hastings on Hudson, for respondent.
Karen P. Simmons, The Children's Law Center, Brooklyn (Rachel J. Stanton of counsel), attorney for the child.



Order, Family Court, Bronx County (Diane Kiesel, J.), entered on or about February 8, 2017, which denied petitioner mother's application to relocate with the parties' child to Waterbury, Connecticut, unanimously affirmed, without costs.
The parties consented to a custody order, which provides that the mother has legal and physical custody of their son in New York, and the father has visitation the first three weekends of the month and on alternate weeks during the summer. The father has been consistent in exercising his visitation rights.
Denial of the mother's motion to relocate, a motion concededly motivated by her desire to bring the parties' child to live with her present boyfriend and soon to be born child, has a
sound and substantial basis in the record (see Matter of Tropea v Tropea, 87 NY2d 727, 736 [1996]; see Yamilly M.S. v Ricardo A.S., 137 AD3d 459 [1st Dept 2016]). The father testified that the move would disrupt both the amount and quality of his time with his son. The move would also put a strain on the child's relationship with his extended family, with whom he lives. In addition, both grandmothers provide significant childcare when the child's parents are unavailable.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: NOVEMBER 20, 2018
DEPUTY CLERK








